          2:17-cv-11034-VAR-RSW      Doc # 35       Filed 11/02/17   Pg 1 of 9   Pg ID 476



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

MATTHEW WALKER, et al

           Plaintiffs,
                                                      Case No. 17-11034
v.
                                                      Honorable Victoria A. Roberts
FABRIZIO & BROOK, P.C., et al,

     Defendants.
_________________________________/


             ORDER GRANTING DEFENDANT’S MOTION TO DISMISS [Doc. 24]

           Matthew and Stephanie Walker (“the Walkers”) filed an amended complaint

(“Amended Complaint”) against the law firm of Fabrizio & Brook, P.C. (“Fabrizio”) and

Detroit Legal News Publishing, LLC (“Detroit Legal News”). The Walkers allege efforts

to collect their mortgage debt by Fabrizio, and a notice of foreclosure sale posted and

published by Fabrizio and Detroit Legal News, violated their rights under the Fair Debt

Collection Practices Act and Michigan’s Regulation of Collection Practices Act. The

Walkers also allege that Detroit Legal News, in publishing the notice of foreclosure sale,

violated the Fair Credit Reporting Act (“FCRA”).

           Detroit Legal News filed a motion to dismiss (“Motion”) under Federal Rule of

Civil Procedure 12(c). The motion is GRANTED.

     I.        Background

           The Walkers purchased a home and executed a mortgage that was assigned to

The Note Authority, LLC (“The Note Authority”). Prior to March 14, 2017, the Walkers

defaulted on their mortgage payments, and The Note Authority hired Fabrizio to

                                                1
 
     2:17-cv-11034-VAR-RSW           Doc # 35       Filed 11/02/17   Pg 2 of 9   Pg ID 477



foreclose on the Walkers’ mortgage. As a part of the foreclosure process, multiple

letters were exchanged between the Walkers and Fabrizio in March and April of 2017.

       On May 4, 2017, Fabrizio posted a public notice of an impending sheriff sale of

the property for June 1, 2017 in the Detroit Legal News. The public notice stated that

the debt and the Walkers were being pursued by debt collectors, that the mortgage debt

is in default, and the amount owed was $56,825.94.

       The Walkers claim that Fabrizio shared their personal information with Detroit

Legal News through a private computer system called a portal. The information included

their names, address, mortgage amount, loan balance, and the fact of the defaulted

mortgage. The information was downloaded from the loan servicer or lender, and either

manually or automatically populated into corresponding fields in the Fabrizio’s computer

system. By the click of a mouse, the Walkers’ information was transmitted directly from

Fabrizio’s computer system to Detroit Legal News’s computer system. According to the

Walkers, there was little to no communication that occurred between employees of

Fabrizio and Detroit Legal News; it all took place electronically. The Walkers

acknowledge that the information uploaded by Fabrizio directly to Detroit Legal News

via the portal was required by state foreclosure statutes. Once Detroit Legal News

received the information, its computer system automatically populated with the

information and formatted it into the public foreclosure notice seen in newspapers, the

internet, and in county buildings.

       The Walkers also allege that Detroit Legal News sold their public notice to target

marketers. The Walkers claim that they are now being inundated with letters from

attorneys, modification companies, and bankruptcy clinics which read about their

                                                2
 
      2:17-cv-11034-VAR-RSW          Doc # 35       Filed 11/02/17   Pg 3 of 9   Pg ID 478



foreclosure and offered related services. This, according to the Walkers, added to the

shame and embarrassment that the public notice caused.

          According to the Walkers, Detroit Legal News is a consumer reporting agency,

and the public notice is a consumer report, as defined by the FCRA. The Walkers allege

that Detroit Legal News created the public notice based on inaccurate information from

Fabrizio and with few, if any, reasonable procedures. Detroit Legal News then published

the public notice, and sold it to target marketers. This lack of reasonable procedures,

according to the Walkers, violates 15 U.S.C. § 1681e(b). Amended Complaint, Par. 4,

101, 105, 107, 109.

          In its Motion, Detroit Legal News claims: 1) it is not a “consumer reporting

agency” as defined by the FCRA; and 2) the statutorily-mandated foreclosure notice is

not a “consumer report” as defined by the FCRA. For these reasons, Detroit Legal News

argues that the Walkers fail to state a cognizable claim against it.

    II.      Legal Standard

              A. Motion to Dismiss

          A motion for judgment on the pleadings under Federal Rule of Civil Procedure

12(c) tests the legal sufficiency of a plaintiff’s complaint. The Court reviews such a

motion under the same standard as a motion to dismiss under Rule 12(b)(6).

Sensations, Inc. v. City of Grand Rapids, 526 F.3d, 291, 295-96 (6th Cir. 2008). As

such, it must accept as true all well-pled material allegations in the complaint and

“determine whether they plausibly give rise to an entitlement to relief.” Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009). The Court may grant a motion for judgment on the pleadings


                                                3
 
      2:17-cv-11034-VAR-RSW         Doc # 35       Filed 11/02/17   Pg 4 of 9   Pg ID 479



only where the movants clearly establish that no material issue of fact remains

unresolved and that they are entitled to judgment as a matter of law. Poplar Creek Dev.

Co. v. Chesapeake Appalachia, LLC, 636 F.3d 235, 240 (6th Cir. 2011); Drew v. Kemp-

Brooks, 802 F. Supp. 2d 889, 892 (E.D. Mich. 2011). To withstand a Rule 12(c) motion,

“a complaint must contain direct or inferential allegations respecting all the material

elements under some viable legal theory.” Commercial Money Ctr., Inc. v. Illinois Union

Ins. Co., 508 F.3d 327, 336 (6th Cir. 2007).

    III.      Analysis

               A. Consumer Reporting Agency

           The Walkers allege the Detroit Legal News is a consumer reporting agency as

defined by the FCRA, and is subject to 15 U.S.C. § 1681e(b). Detroit Legal News

argues that it is not, and the Walkers’ Amended Complaint does not allege that it

regularly assembles or evaluates consumer information.

           The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible

accuracy of the information concerning the individual about whom the report relates.” 15

U.S.C. § 1681e(b). A consumer reporting agency is any person or entity that regularly

engages in the practice of assembling or evaluating consumer credit information or

other consumer information for the purpose of furnishing consumer reports to third

parties. 15 U.S.C. § 1681a(f). “This implies a function which involves more than receipt

and retransmission of information identifying a particular debt.” Carney v. Experian Info.

Solutions, Inc., 57 F. Supp. 2d 496, 501 (W.D. Tenn. 1999) (quoting D'Angelo v.

Wilmington Med. Ctr., 515 F. Supp. 1250, 1253 (D. Del. 1981)). The FCRA is not

                                               4
 
     2:17-cv-11034-VAR-RSW        Doc # 35       Filed 11/02/17   Pg 5 of 9   Pg ID 480



directed at entities which supply consumer credit information to consumer reporting

agencies, and which are remote from decisionmakers who rely on consumer reports to

make credit decisions. D’Angelo, 515 F. Supp. at 1253.

       As Detroit Legal News points out, the Walkers do not allege in their Amended

Complaint that Detroit Legal News regularly engages in the assembly or evaluation of

consumer information. Instead, the Walkers allege that through a mouse click, their

information was transmitted from Fabrizio to Detroit Legal News. Once in Detroit Legal

News’s computer system, the information was automatically populated and formatted

into a foreclosure notice that was publically distributed. Based on this description,

Detroit Legal News is “merely a conduit of information, as opposed to an entity that in

any way re-organizes or filters information.” Knechtel v. Choicepoint, Inc., 2009 U.S.

Dist. LEXIS 109521, *15 (D.N.J. Nov. 23, 2009). “Obtaining and forwarding information

does not make an entity a [consumer reporting agency].” Ori v. Fifth Third Bank, &

Fiserv, Inc., 603 F. Supp. 2d 1171, 1175 (E.D. Wisc. 2009).

       In their response to Detroit Legal News’s motion to dismiss (“Response”), the

Walkers allege that they never used the word “conduit” in describing Detroit Legal

News. While true, the Walkers do use phrases such as “takes the baton,” “sends the

information,” and “hands it off” to describe the role that Detroit Legal News plays in the

foreclosure process. Amended Complaint, Par. 104. These phrases are all but

synonymous with the word “conduit.”

       Based on the Walkers’ description, Detroit Legal News functioned only as the

receiver and re-transmitter of the Walkers’ debt information. Carney, 57 F. Supp. 2d at



                                             5
 
     2:17-cv-11034-VAR-RSW         Doc # 35       Filed 11/02/17   Pg 6 of 9   Pg ID 481



501. It simply distributed the Walkers’ credit information to the public and to target

marketers.

       The Walkers argue that because target marketers receive the public notice

through paid subscriptions, Detroit Legal News is in direct contact with the ultimate user

of their debt information. According to the Walkers, this direct contact makes Detroit

Legal News a consumer reporting agency. However, numerous courts have ruled that

an entity in contact with the ultimate user of the credit information does not qualify as a

consumer reporting agency. See Ori, 603 F. Supp. 2d at 1175 (concluding that Fiserv,

Inc., which transmitted a bank’s mortgage documents to consumer reporting agencies,

was not itself a consumer reporting agency); Knechtel, 2009 U.S. Dist. LEXIS 109521,

at *12-15 (concluding that entities in the business of collecting background information

on individuals and transmitting them to consumer reporting agencies, were not

consumer reporting agencies). Contrary to the Walkers’ argument, Detroit Legal News’s

contact with target marketers does not alone make Detroit Legal News a consumer

reporting agency.

       Even construing the Walkers’ allegation in the light most favorable to them, they

do not allege facts to suggest that Detroit Legal News is the type of entity regulated by

Section 1681e(b).

             B. Consumer Report

       Detroit Legal News argues that the public notice is not a consumer report.

       To qualify as a consumer report, a communication must: 1) come from a

consumer reporting agency; 2) bear on a consumer's credit worthiness, standing, or


                                              6
 
     2:17-cv-11034-VAR-RSW         Doc # 35       Filed 11/02/17   Pg 7 of 9   Pg ID 482



capacity, his character, reputation, or personal characteristics, or his mode of living; and

3) it must have been used, expected to be used, or collected in whole or part for the

purpose of serving as a factor in establishing the consumer’s eligibility for: a) credit or

insurance to be used primarily for personal, family, or household purposes; b)

employment purposes; or c) other purposes authorized by the FCRA. 15 U.S.C. §

1681a(d); Cheatham v. McCormick, 1996 U.S. App. LEXIS 29702, *6 (6th Cir. 1996).

       The public notice could qualify as a consumer report. In Firneno v. Radner Law

Group, PLLC, the plaintiffs’ complaint alleged that defendants obtained and used lists of

consumers who maintain high credit card balances. Firneno v. Radner Law Group,

PLLC, 2015 U.S. Dist. LEXIS 90914, *4-5 (E.D. Mich. 2015). The court inferred that the

lists contained the amount of each consumer’s total unsecured debt. Id. at *5. The

plaintiffs’ complaint also alleged that the defendants used the lists to identify and send

marketing materials to potential clients. Id. at *8. The court concluded that the lists were

consumer reports since they contained information that bears on creditworthiness,

standing, or capacity, and the offering of debt-related services qualifies as an authorized

purpose under the FCRA. Id. at *5, 8.

       The Walkers allege that the public notices of foreclosure published by Detroit

Legal News contain personal credit information, and are used by marketers to offer

credit-related services. Thus, like the consumer lists in Firneno, the public notice could

qualify as a consumer report.

       However, even if public notices did qualify as consumer reports, the one

published by Detroit Legal News does not. The first requirement to be a consumer

report is that it be a communication by a consumer reporting agency. 15 U.S.C. §

                                              7
 
     2:17-cv-11034-VAR-RSW         Doc # 35       Filed 11/02/17   Pg 8 of 9   Pg ID 483



1681a(d). See also Cheatham, 1996 U.S. App. LEXIS 29702 at *6. Importantly, the

Firneno court concluded that the plaintiffs sufficiently alleged that the reports in question

came from a consumer reporting agency. Firneno, 2015 U.S. Dist. LEXIS 90914 at *6.

       The Walkers have not pled sufficient facts to support a finding that Detroit Legal

News is a consumer reporting agency. In turn, the public notice of foreclosure cannot be

considered a consumer report.

           C. User of Consumer Reports

       The Walkers claim that even if Detroit Legal News does not fall under the

definition of “consumer reporting agency,” it is still subject to the FCRA as a user of a

consumer report.

       The Walkers are correct that portions of the FCRA do cover users of consumer

reports. As the Sixth Circuit recognized, “[t]he FCRA imposes distinct obligations on

three types of entities; 1) consumer reporting agencies; 2) users of consumer reports;

and 3) furnishers of information to consumer reporting agencies.” Nelski v. Trans Union,

LLC, 86 Fed. Appx. 840, 844 (6th Cir. 2004). However, the operative word is “distinct,”

and the FCRA imposes different obligations on consumer reporting agencies than it

does on users of consumer reports. Wiggins v. Hitchens, 853 F. Supp. 505, 509 (D.C.

Dist. May 1994).

       The Walkers allege that Detroit Legal News violated Section 1681e(b) of the

FCRA. But as Detroit Legal News points out in its reply brief, Section 1681e(b)

regulates only consumer reporting agencies. While Detroit Legal News cites no

authority to support its proposition, a plain reading of Section 1681e(b), which only lists


                                              8
 
     2:17-cv-11034-VAR-RSW          Doc # 35       Filed 11/02/17   Pg 9 of 9   Pg ID 484



consumer reporting agencies with the obligation to assure accuracy of consumer

reports, leads to this conclusion. 15 U.S.C. § 1681e(b). Case law supports this

argument as well. See Wiggins, 853 F. Supp. at 509-10 (dismissing Section 1681e(b)

claim as insufficiently pled as a matter of law against defendants, who were not

consumer reporting agencies, but could qualify as users of a consumer report).

          The Walkers’ argument fails.

    IV.      Conclusion

          This motion is designed to test the sufficiency of the Walkers’ Amended

Complaint. The Court reviewed their allegations in a light most favorable to them. Doing

this, and drawing all reasonable inferences in their favor, the Court finds that the

Walkers do not allege enough facts to support their claims under the FCRA. They do

not survive Detroit Legal News’s motion to dismiss.

          The motion is GRANTED.

          IT IS ORDERED.
                                           S/Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge
Dated: November 2, 2017




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